I respectfully dissent from the majority opinion.
As noted in the majority opinion, on September 11, 2001, the trial court referred  the case for non-binding arbitration. Prior to the start of the arbitration, it was noted counsel agreed the arbitration panel's fact-finding would be binding.
Fact finding is a separate function from that of drawing legal conclusions based upon the fact finding.  I do not believe the specific limitation of authority of the arbitration panel's ability to determine attorney fees, if it found a violation of the Consumer Sales Practice Act, waived or modified either party's right to challenge the arbitration panel's conclusion(s) of law as to any other matters decided under the trial court's order.
I would sustain appellant's sole assignment of error.